                         IN THE UNITED STATES DISTRICT COURT                         Motion GRANTED.
                             MIDDLE DISTRICT OF TENNESSEE                            Hearing reset for
                                  NASHVILLE DIVISION                                 11/20/14 at 3:00 p.m.
UNITED STATES OF AMERICA                       )
                                               )
vs.                                            )         Criminal No. 3:10-00163
                                               )         JUDGE TRAUGER
[9] JOEDON BRADLEY                             )


                     MOTION TO CONTINUE REVOCATION HEARING


       Comes now the Defendant, Joedon Bradley, through his attorney, James A. Simmons,

and moves this Honorable Court to continue the Revocation Hearing which is scheduled for

Thursday, September 18, 2014, at 2:30 p.m. (DE 2080). As grounds for this motion, counsel

would show that the basis of the revocation petition is an arrest which occurred in Davidson

County, Tennessee on August 21, 2014. Joedon Bradley is represented by Attorney Bobby

Ballinger (615-254-0202) in the Davidson County matter.                Mr. Ballinger has advised

undersigned counsel that he has requested his client exercise his Fifth Amendment right as to any

questions which might pertain to the basis of the Davidson County arrest.

       Mr. Bradley turned himself in upon being advised of the pending revocation petition and

was subsequently released by the United States Magistrate. It is requested that this Court

continue these proceedings pending resolution of the Davidson County charges.

       Counsel has spoken with Mr. Bradley and advised him that any violation of the

conditions of his release could result in his detention revocation of his release status.

       Undersigned counsel has spoken with Scarlett Singleton, Assistant United States

Attorney, who does not oppose this motion for the reasons stated.




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